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                                             April 14, 2021

Re:     Jane Doe 1-10 v. Baylor University; Cause No. 6:16-cv-173-RP; In the United States District
        Court, Western District of Texas, Waco Division

                       PLAINTIFFS’ ADVISORY REGARDING ECF 932

Judge Austin:

The short answer to the Court’s latest inquiry is two-fold. First, the numbers reported by Plaintiffs in
ECF 904-1 at 8 were not filtered for responsiveness nor pre/post June 15, 2016, whereas ECF 929
requested responsiveness and pre/post be used for the document count. Second, the ECF 904-1
numbers are added up assuming the accuracy of Baylor’s representations of “Previously
Produced/Logged,” whereas Plaintiffs’ position set forth in ECF 929 instead assumes that ULEX’s
by-hand findings are accurate. For reasons Plaintiffs briefed in ECF 904 and 914, Plaintiffs cannot
accept Baylor’s representations as to previously produced/logged documents, as those representations
are directly refuted by the findings resulting from ULEX’s by-hand comparison.

                                    THE 3,327/2,793 NUMBERS

The chart resulting in the numbers 3,327 and 2,793 (ECF 904-1 at 8) are taken from Baylor’s
Accounting Log and were not meant to reflect Plaintiffs’ belief as to accuracy. That chart accepts Baylor’s
“Explanation” column despite those explanations being contradicted by ULEX. Adding up only the
“Newly Produced/Logged” numbers and accepting Baylor’s “Explanation” column and thus
excluding documents Baylor claims were ‘Previously Produced/Logged” should not be taken to mean
that Plaintiffs agree with these numbers - “[Y]et there is only Baylor’s word on this and no adequate
explanation …” ECF 904 at Pages 8-9. For example, Baylor claims that 743 documents were
“Previously Produced,” but ULEX determined there was “No Comparison File Provided” for these
same documents, meaning they were not produced. That said, even if all Baylor says is true and ULEX
is wrong, thousands of documents are still not produced and not logged. The math for the 3,327/2,795
is highlighted below – note that those documents that Baylor claims were previously produced/logged
are excluded, despite the fact that ULEX says they were not provided to ULEX as having been produced
or logged.




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                                         THE 2,500/5,569 NUMBERS

The 2,500/5,569 numbers are from the same Baylor Accounting Log after Baylor’s “Explanation
Column Post/Pre June 15, 2016” is included as was asked for in ECF 929 - the Court asked about only
responsive and pre-June 15, 2016 documents. While Plaintiffs do not concede Baylor’s Non-
Responsive claims, the numbers 2,500/5,569 accept Baylor’s “Non-Responsive” designation.
However, since ULEX’s by-hand findings refute Baylor’s contention of what documents were
previously produced/logged, ULEX’s determination is used to accurately count what was not
produced/logged prior to the audit.

In the chart below, Baylor’s “Produced Logged Column” contains Baylor representations –
representations clearly determined false by ULEX. While Baylor labels 250 documents as “Previously
Logged,” ULEX found “no comparison file”, so Plaintiffs added those back in. As noted above,
Baylor says that 743 documents were “Previously Produced,” but ULEX determined there is “no
comparison file,” so those are added back in. Baylor claims that 3,300/511 documents were
“previously” produced/logged, yet ULEX says what Baylor provided to ULEX is in substantive
“Variance” from what Pepper Hamilton gave ULEX, so those are added back in. In addition, “newly”
produced/logged must be included to calculate documents Baylor had not produced/logged prior to
the commencement of the ULEX audit. The result is 2,500/5,569. How the chart immediately below
was generated is shown further below.

                                         Baylor's Produced Logged   Baylor's Explanation Column
     ULEX Determination   # of Docs          Column Filter #'s         Post / Pre June 15, 2016
                                      18     NA System Gen File     NA
                                                                                                Responsive Pre 6.15.16
                                                                    1,308     post 6.15.16      not matched / not
                                      3,326 Newly Logged            2,018     pre 6.15.16       produced =
     No Comparison File
                                                                    1,547     post 6.15.16      (1246+743+511) 2,500
                           8,257      2,793 Newly Produced          1,246     pre 6.15.16
         Provided
                                      1,126 Non Responsive          600      post 6.15.16       Responsive Pre 6.15.16 not
                                      250 Previously Logged         250      pre 6.15.16
                                                                                                matched / not logged =
                                      743 Previously Produced       743      pre 6.15.16
                                      1     Withheld by Agreement   NA
                                                                                                (2018+250+1+3300) 5569
                                      50    Non Responsive          50       post 6.15.16
                                      1     Newly Logged            1        pre 6.15.16
          Variance         3,872      3,300 Previously Logged       3,300 pre 6.15.16
                                      511 Previously Produced       511      pre 6.15.16
                                      10 Withheld by Agreement      NA                          1

Baylor wants Plaintiffs and the Court to accept its explanations when the only one who tested them,
ULEX, says Baylor is wrong. ULEX even had the benefit of Baylor’s explanations prior to doing the
by-hand comparison, yet ULEX stood by its determinations and still disagrees with Baylor. That
Baylor will not even allow ULEX to turn over the “Previously Produced” documents AEO for
Plaintiffs to verify them speaks for itself.

How the reports above were generated will now be discussed. Using Baylor’s Accounting Log, ULEX
conducted its by-hand comparison and added a “ULX Disposition” column showing ULEX’s final
determination (ECF 904-4). This document, as Excel file, can be filtered/sorted into 5 categories: 1)
Exact Match, 2) Substantive Match 3) No Comparison File Provided 4) Technical and 5) Variance
(i.e. additional, different or missing substantive content) (ECF 897-2 & ECF 904). Plaintiffs have

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    All charts and spreadsheet screenshots have been reproduced in a larger format in Exhibit A.


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offered to submit this Excel file for the Court to review independently should it so desire. However,
this is an example of what the filter/sort looks like:




Filtering/sorting the Excel file by those newly/previously produced/logged was conducted as shown
below (note this excludes Baylor’s claimed Non-Responsive documents):




The following report is the result of the above filtering:
                                                                 Baylor's Produced Logged
                 ULEX Determination          # of Docs               Column Filter #'s
                                                             18      NA System Gen File
                                                             3,326 Newly Logged
                                                             2,793 Newly Produced
              No Comparison File Provided       8,257        1,126 Non Responsive
                                                             250    Previously Logged
                                                             743    Previously Produced
                                                             1      Withheld by Agreement
                                                             50     Non Responsive
                                                              1     Newly Logged
                        Variance                3,872        3,300 Previously Logged
                                                             511 Previously Produced
                                                             10    Withheld by Agreement


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Plaintiffs then added Baylor’s explanation column and filtered out the documents Baylor has indicated
are post-June 15, 2016. The following reports was thus generated. –




                                                                                     Responsive Pre 6.15.16 not
                                                                                     matched / not produced =
                                                                                     (1246+743+511) 2,500


                                                                                     Responsive Pre 6.15.16 not
                                                                                     matched / not logged =
                                                                                     (2018+250+1+3300) 5569




The highlighted rows total the numbers Plaintiffs provided to the Court of pre-June 15, 2016
documents which Baylor does not claim are Non-Responsive - 2,500 not previously produced and
5,569 not previously logged prior to the ULEX audit. “Newly produced/logged” documents were of
course produced/logged after the ULEX audit and therefore included. Thus, if Baylor is believed
regarding responsiveness and if Baylor is believed about what is pre/post June 15, 2016, the
2,500/5,569 numbers reflect ULEX’s determination of the questions posed by the Court in ECF 929.

When Plaintiffs conferred with Baylor per the Court’s order in ECF 929, Baylor’s explanations
remained wanting. Plaintiffs’ position is that the ULEX process should be trusted and not undermined
by Baylor’s latest explanations. Plaintiffs are prepared to elaborate on Baylor’s latest explanations but
interpreted the latest order as restricting briefing to the numbers alone.

                                                Respectfully,


                                                Jim Dunnam


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                                CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the above and foregoing has been filed by
ECF and sent to counsel of record via electronic notification on April 14, 2021.

                                             /s/Jim Dunnam
                                             JIM DUNNAM




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